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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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ELIZABETH BROKAMP,

                  Plaintiff,

v.                                            No. 1:21-cv-00389-DNH-ATB

LETITIA JAMES; BETTY ROSA;
NEW YORK STATE EDUCATION
DEPARTMENT BOARD OF REGENTS;
NEW YORK STATE BOARD OF
MENTAL HEALTH PRACTITIONERS;
and THOMAS BIGLIN, HELENA BOERSMA,
SARGAM JAIN, RENE JONES, SUSAN L.
BOXER KAPPEL, SARA LIN FRIEDMAN
MCMULLIAN, RODNEY MEANS, TIMOTHY
MOONEY, ANGELA MUSOLINO,
MICHELE LANDERS MEYER,
NATALIE Z. RICCIO, HOLLY VOLLINK-LENT,
JILL R. WELDUM, SUSAN WHEELER WEEKS,

              Defendants.
--------------------------------

APPEARANCES:                                  OF COUNSEL:

INSTITUTE FOR JUSTICE                         JEFFREY REDFERN, ESQ.
Attorneys for Plaintiff                       ROBERT JOHNSON, ESQ.
901 N. Glebe Road, Suite 900                  ROBERT McNAMARA, ESQ.
Arlington, VA 22203                           ALAN J. PIERCE, ESQ.

HON. LETITIA JAMES                            MARK G. MITCHELL, ESQ.
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DAVID N. HURD
United States District Judge
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                MEMORANDUM-DECISION and ORDER

     INTRODUCTION

   Plaintiff Elizabeth Brokamp (“Brokamp” or “plaintiff”) brings this action

against defendants Letitia James, in her official capacity as Attorney General

of the State of New York (the “Attorney General”), Betty Rosa, in her official

capacity as the New York State Commissioner of Education (the “Education

Commissioner”), the New York State Education Department Board of

Regents (the “Board of Regents”), the New York State Board of Mental

Health Practitioners (the “Board of Mental Health Practitioners”), and the

following individuals sued in their official capacity as members of the Board

of Mental Health Practitioners: Thomas Biglin, Helena Boersma, Sargam

Jain, Rene Jones, Susan L. Boxer Kappel, Sara Lin Friedman McMullian,

Rodney Means, Timothy Mooney, Angela Musolino, Michele Landers Meyer,

Natalie Z. Riccio, Holly Vollinik-Lent, Jill R. Weldum, and Susan Wheeler

Weeks (the “Mental Health Board defendants” and, together with the

Attorney General, the Education Commissioner, the Board of Regents, and

the Board of Mental Health Practitioners, “defendants”).

   Plaintiff, a Virginia-licensed professional counselor, seeks a declaratory

judgment providing that N.Y. Educ. Law sections 8402-8405 violate the First

and Fourteenth Amendments to the United States Constitution. Plaintiff

also seeks a permanent injunction prohibiting defendants and their agents

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from applying New York’s licensing requirements for mental health

counselors to prevent plaintiff from providing teletherapy services to New

York residents. Defendants have moved to dismiss the complaint in its

entirety and against all defendants under Federal Rule of Civil Procedure

(“Rule”) 12(b)(1) and 12(b)(6). The motion having been fully briefed, the

Court will now consider it on the basis of the parties’ submissions without

oral argument.

       BACKGROUND

   A. Brokamp and her Counseling Services

   Brokamp is a Virginia-licensed professional counselor with over twenty

years’ experience. Dkt. 24 (“Am. Compl.”) ¶ 1. Professional counselors like

plaintiff “talk to their clients about their feelings, their relationships, and

their lives.” Id. ¶ 1. Her services consist entirely of conversations with her

clients; plaintiff does not prescribe any medication or conduct medical

procedures. Id. ¶¶ 28-29.

   Brokamp provides counseling out of her home in Virginia, but she has

moved all her counseling online due to the COVID-19 pandemic. Am.

Compl. ¶ 8. While her move online was initially driven by the pandemic,

plaintiff has found that this arrangement is beneficial for clients because it

allows them to seek out help without making a trip to her office. Id. ¶ 25.



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Consequently, plaintiff intends to continue providing online teletherapy for

the indefinite future, including after the pandemic is over. Id. ¶ 23.

   During the pandemic, one of Brokamp’s clients relocated to New

York. Am Compl. ¶ 36. As explained below, New York temporarily

suspended its requirement that out-of-state counselors obtain New York

counseling licenses before providing teletherapy to New York residents, so

plaintiff was able to continue counseling her client for a time. Id.

   Another of Brokamp’s former clients who lives in New York also contacted

her seeking to resume therapy. Am. Compl. ¶ 39. Concerned that she may

have to terminate therapy with this client when New York’s licensing

exemption expired, plaintiff felt ethically obligated to turn this individual

down. Id.

   B. New York’s Licensing Requirement and Enforcement

   N.Y. Educ. Law § 6512(1) makes it a felony to practice certain professions

without a license issued by the New York State Education Department (the

“Education Department”). One such profession this statute covers is “mental

health counseling.” 1


   1  N.Y. Educ. Law § 8402(1) defines “mental health counseling” as: (a) the evaluation, assessment,
amelioration, treatment, modification, or adjustment to a disability, problem, or disorder of behavior,
character, development, emotion, personality or relationships by the use of verbal or behavioral
methods with individuals, couples, families or groups in private practice, group, or organized
settings; and (b) the use of assessment instruments and mental health counseling and psychotherapy
to identify, evaluate and treat dysfunctions and disorders for purposes of providing appropriate
mental health counseling services.


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   To obtain a mental health counseling license, one must satisfy several

requirements, which include passing an exam, completing an internship and

supervised experience, obtaining a master’s degree or higher, and paying a

fee. N.Y. Educ. Law § 8402(3). In addition, New York’s licensing laws

contain various exemptions, which allow certain professions to provide

services falling within the definition of “mental health counseling” without

obtaining a mental health counselor license. See N.Y. Educ. Law § 8410. 2

   Early in the COVID-19 pandemic, New York issued an executive order

temporarily suspending its requirement that out-of-state counselors obtain

New York licenses before providing teletherapy to New York residents, so

Brokamp was able to continue counseling her New York clients. See Am.

Compl. ¶ 36 (citing N.Y. Exec. Ord. 202.15). On March 9, 2020, the Board of

Mental Health Practitioners confirmed to plaintiff that, after N.Y. Exec. Ord.

202.15 expired, she would no longer be able to provide teletherapy to New

York residents. Id. ¶ 38. On June 25, 2021, a subsequent executive order,

N.Y. Exec. Ord. 210, confirmed that N.Y. Exec. Ord. 202.15 expired.




   2 For instance, “attorneys, rape crisis counselors, certified alcoholism counselors and certified
substance abuse counselors” may “provid[e] mental health services within their respective
established authorities.” N.Y. Educ. Law § 8410(2). Similarly, “member[s] of the clergy or Christian
Science practitioner[s],” may provide “pastoral counseling services” if such services are “within the
context of his or her ministerial charge or obligation.” Id. § 8410(4).

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       LEGAL STANDARD

           1. Subject Matter Jurisdiction

   “A case is properly dismissed for lack of subject matter jurisdiction under

Rule 12(b)(1) when the district court lacks the statutory or constitutional

power to adjudicate it.” Makarova v. United States, 201 F.3d 110, 113 (2d

Cir. 2000). “A plaintiff asserting subject matter jurisdiction has the burden

of proving by a preponderance of the evidence that it exists.” Id. “In

resolving a motion to dismiss for lack of subject matter jurisdiction under

Rule 12(b)(1), a district court … may refer to evidence outside the pleadings.”

Id. at 113. Subject matter jurisdiction is a threshold issue and, thus, when a

party moves to dismiss under both Rules 12(b)(1) and 12(b)(6), the motion

court must address the 12(b)(1) motion first.” Hartwick v. Annucci, 2020 WL

6781562, at *4 (N.D.N.Y. Nov. 18, 2020).

           2. Failure to State a Claim

   “To survive a Rule 12(b)(6) motion to dismiss, the ‘[f]actual allegations

must be enough to raise a right to relief above the speculative level.’”

Ginsburg v. City of Ithaca, 839 F. Supp. 2d 537, 540 (N.D.N.Y. 2012) (citing

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). “[T]he complaint must

contain sufficient factual matter that it presents a claim to relief that is

plausible on its face.” Hartwick, 2020 WL 6781562, at *4 (citing Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009)).

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    In assessing the plausibility of the plaintiff’s complaint, “the complaint is

to be construed liberally, and all reasonable inferences must be drawn in the

plaintiff's favor.” Ginsburg, 839 F. Supp. 2d at 540 (citing Chambers v. Time

Warner, Inc., 282 F.3d 147, 152 (2d Cir. 2002)). A plaintiff may support her

complaint with “any written instrument attached to it as an exhibit,

materials incorporated in it by reference, and documents that, although not

incorporated by reference, are ‘integral’ to the complaint.” L-7 Designs, Inc.

v. Old Navy, LLC, 647 F.3d 419, 422 (2d Cir. 2011) (citing Sira v. Morton, 380

F.3d 57, 67 (2d Cir. 2004)).

         DISCUSSION

         In her Amended Complaint, Brokamp advances three causes of action:

(i) an as-applied First Amendment challenge; (ii) a facial First Amendment

challenge; and (iii) an as-applied First & Fourteenth Amendment vagueness

challenge. 3

    In response, defendants raise the following objections: (1) plaintiff lacks

standing; (2) plaintiff’s claims must be dismissed for lack of subject matter



    3  Plaintiff does not specify whether her vagueness challenge is as-applied or facial, but “[t]he
label is not what matters.” Libertarian Party of Erie Cty. v. Cuomo, 300 F. Supp. 3d 424, 438
(W.D.N.Y. 2018), aff'd in part, appeal dismissed in part, 970 F.3d 106 (2d Cir. 2020). A claim is
facial if it “challenges application of the law more broadly,” but a “claim is as-applied if it is limited
to a plaintiff’s particular case.” Id. While plaintiff’s prayer for relief seeks, in part, a declaration
that N.Y. Educ. Law §§ 8402-8405 is unconstitutional, in substance plaintiff’s vagueness claim and
proposed remedies are tied to enforcement of New York’s licensing regime as to her and to her
specific injuries, not those more broadly experienced by others. The Court therefore considers Count
III an as-applied constitutional challenge.


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jurisdiction because defendants have sovereign immunity; (3) the Attorney

General is not a proper defendant in this action; and (4) plaintiff’s claims

must be dismissed for failure to state a claim upon which relief can be

granted.

   A. Standing 4

   Defendants argue that Brokamp lacks standing over each of her claims.

As to her as-applied claims, the Court agrees with defendants.

   Standing limits the jurisdiction of federal courts to decide only actual

“Cases” or “Controversies.” Smith v. Hochul, 2021 WL 4972640, at *3

(N.D.N.Y. Oct. 26, 2021). To establish standing, a plaintiff must show: (1) an

injury-in-fact; (2) a sufficient causal connection between the injury and the

conduct complained of; and (3) a likelihood that the injury “will be redressed

by a favorable decision.” Knife Rts., Inc. v. Vance, 802 F.3d 377, 383 (2d Cir.

2015). If any of these three elements is missing, a federal court lacks

jurisdiction to entertain the claim. Libertarian Party of Erie County v.

Cuomo, 970 F.3d 106, 121 (2d Cir. 2020).




   4  While defendants make their standing argument under Fed. R. Civ. P. 12(b)(6), “standing is at
heart ‘a jurisdictional prerequisite to a federal court’s deliberations,’ … and thus it is more
appropriately analyzed under Rule 12(b)(1).” See Disability Rights N.Y. v. N.Y., 2019 WL 2497907,
at *4 n.2 (E.D.N.Y. Jun. 14, 2019) (citing Thompson v. Cty. of Franklin, 15 F.3d 245, 248 (2d Cir.
1994)); see also All. for Envtl. Renewal, Inc. v. Pyramid Crossgates Co., 436 F.3d 82, 88 n.6 (2d Cir.
2006) (“Although we have noted that standing challenges have sometimes been brought under Rule
12(b)(6), as well as Rule 12(b)(1), the proper procedural route is a motion under Rule 12(b)(1)”).

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         1. Plaintiff lacks standing to bring her as-applied First
            Amendment and Vagueness claims.

   (i)     Plaintiff has not submitted to the challenged licensure requirement.

   “To establish standing to challenge an allegedly unconstitutional policy, a

plaintiff must submit to the challenged policy.” Jackson-Bey v. Hanslmaier,

115 F.3d 1091, 1096 (2d Cir. 1997). However, a plaintiff may be excused from

the threshold standing requirement that she submit to the challenged policy

if she “makes a substantial showing that application for the benefit … would

have been futile.” Id.

   Thus, when a plaintiff wishes to mount an as-applied First Amendment

challenge to a licensing scheme in New York, she must either: (1) apply for a

license under that scheme; or (2) make a “substantial showing” that

submitting a licensing application “would have been futile.” See Prayze FM v.

F.C.C., 214 F.3d 245, 251 (2d Cir. 2000) (citing Jackson-Bey, 115 F.3d at

1096).

   Brokamp does not allege that she has applied for a license, nor does she

allege that applying for a license would be futile. Indeed, plaintiff concedes

that she has no intention of applying to become a licensed mental health

counselor in New York. Am. Compl. ¶ 35. Because plaintiff’s alleged injuries

result from her own decision to not apply for a license in New York, and she

does not allege that obtaining a license would have been futile, she has failed


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to satisfy a “threshold requirement for standing” on her as-applied claims.

See Jackson-Bey, 115 F.3d at 1096; Prayze FM, 214 F.3d at 251-52.

   (ii)   Plaintiff has not alleged a credible threat of prosecution.

   Brokamp also claims that because she faces the threat of prosecution if

she engages in unlicensed counseling services, she is not required to subject

herself to the licensing requirement before she can challenge it.

   Where a plaintiff “asserts injury based on the threat of prosecution, [she]

need not expose [herself] to liability before bringing suit to challenge the

basis for the threat—for example, the constitutionality of a law threatened to

be enforced.” Adam v. Barr, 792 F. App’x 20, 21 (2d Cir. 2019) (citing

MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 128 (2007)) (internal

quotations omitted). Such preenforcement review is “available where the

‘circumstances … render the threatened enforcement sufficiently imminent.’”

Id. (citing Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014)).

   “To sufficiently allege standing on [her] preenforcement claim, Plaintiff

must … allege both a concrete intention to violate the law and the credible

threat of prosecution if [she] were to do so.” Smith, 2021 WL 4972640, at *8

(citing Adam v. Barr, 2019 WL 1426991, at *3 (S.D.N.Y. Mar. 29, 2019)); see

also Adam, 792 F. App’x at 22 (“A sufficiently imminent injury can be

established by plausible allegations that a plaintiff intends to engage in

conduct proscribed by a statute, and ‘there exists a credible threat of

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prosecution thereunder’”). “A credible threat is not established by ‘imaginary

or speculative’ fears of prosecution.” Adam, 792 F. App’x at 22. “Although

courts are generally willing to presume that the government will enforce the

law as long as the relevant statute is recent and not moribund, the mere

existence of a law prohibiting intended conduct does not automatically confer

Article III standing.” Id. (cleaned up).

   Brokamp fails to allege either a concrete intention to violate the law or a

credible threat of prosecution. If anything, plaintiff seems to concede that

she intends to follow the law, not violate it. See, e.g., Am. Compl. ¶¶ 39, 68.

   Even assuming arguendo that Brokamp had alleged a concrete intention

to violate the law, she also fails to allege a credible threat of prosecution.

Although plaintiff notes that the Attorney General has the power to enforce

New York’s professional licensing regime through prosecution,

Am. Compl. ¶ 9, and that she faces a “threat of felony prosecution,” id. ¶ 77,

she has not alleged facts which particularize such enforcement as to her. Any

alleged injury is, at best, “conjectural or hypothetical.” See Adam, 792 F.

App’x at 21, 23 (holding that, where plaintiff would simply be at risk of

prosecution like any other person who might violate the law at issue,

enforcement was not particularized as to him); compare Knife Rts., 802 F.3d

at 385–87 (holding that fear of prosecution was not conjectural or

hypothetical “given that defendant [prosecutor] recently identified [plaintiff]

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as a [state criminal law] violator and pursued enforcement action against

it”). 5

    In sum, alleging that she will be prosecuted for providing counseling

services without a license because doing so is against N.Y. Educ.

Law ¶ 6512(1), without more, fails to demonstrate a credible threat of

prosecution. Any alleged injury based on threat of enforcement against

plaintiff for counseling without a license is insufficiently imminent to confer

standing. Accordingly, plaintiff lacks standing over her as-applied claims,

and Counts I and III of her Amended Complaint will be dismissed.

          2. Plaintiff has standing to bring her facial First Amendment
             claim.

    “A speaker subject to licensure has standing to make a facial [First

Amendment] challenge without the necessity of first applying for, and being

denied, a license when the [licensing] scheme allegedly vests unbridled

discretion in a government official over whether to permit or deny expressive

activity.” Prayze FM, 214 F.3d at 252 (citing City of Lakewood v. Plain

Dealer Publishing Co., 486 U.S. 750, 755-56 (1988)) (cleaned up). Such a

speaker can also bring a facial challenge to a regulation that “purport[s] to




    5 Moreover, plaintiff has not made any allegations concerning the past or present enforcement of
N.Y. Educ. Law ¶ 6512(1) from which a credible threat of prosecution against her could be inferred.
See Susan B. Anthony List, 573 U.S. at 164 (considering history of past enforcement of a statute
against the plaintiff, for the same conduct, as being good evidence that “the threat of enforcement is
not ‘chimerical’”)

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regulate the time, place, and manner of expressive or communicative

conduct” on the ground that it is not sufficiently narrowly tailored. Id. (citing

Broadrick v. Oklahoma, 413 U.S. 601, 613 (1973)).

   Brokamp alleges that “New York’s mental health counseling licensing law

is substantially overbroad, as it sweeps in significant amounts of speech that

New York has no conceivable interest in regulating.” Am. Compl. ¶ 94. This

is akin to alleging that the statute is not sufficiently narrowly tailored, and is

sufficient to give plaintiff standing over her facial First Amendment

challenge. See Prayze FM, 214 F.3d at 252 (finding plaintiff had standing to

raise facial challenge to licensing scheme where its “narrow tailoring

challenge to the licensing scheme … [was] analogous to … a challenge to a

time, place, or manner regulation”).

   B. Sovereign Immunity

   Defendants argue that Brokamp’s claims must be dismissed for lack of

subject matter jurisdiction because they have sovereign immunity. With

respect to the Board of Regents and Board of Mental Health Practitioners,

the Court agrees.

   The Eleventh Amendment to the United States Constitution provides that

“[t]he Judicial power of the United States shall not be construed to extend to

any suit in law or equity, commenced or prosecuted against one of the United

States by Citizens of another State, or by Citizens or Subjects of any Foreign

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State.” State Emps. Bargaining Agent Coal. v. Rowland, 494 F.3d 71, 95 (2d

Cir. 2007) (citing U.S. Const. amend. XI). The Eleventh Amendment bars

federal courts from exercising subject matter jurisdiction over claims against

states absent their consent to such a suit or an express statutory waiver of

immunity. See Brown v. New York, 975 F. Supp. 2d 209, 221 (N.D.N.Y. 2013)

(citing Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 92-100

(1984)). Although the plaintiff generally bears the burden of proving subject

matter jurisdiction, the entity claiming Eleventh Amendment immunity

bears the burden of proving such immunity. Id. at 221.

   New York has not waived its sovereign immunity for 42 U.S.C. § 1983

claims. See Jones v. N.Y. Div. of Military & Naval Affairs, 166 F.3d 45, 49

(2d Cir. 1999). Moreover, it is well-settled that states and their officials

acting in their official capacities are not “persons” under § 1983 and,

therefore, Eleventh Amendment immunity is not abrogated by that statute.

Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989). Similarly,

28 U.S.C. § 1343, has no effect on sovereign immunity, and the bare fact that

a case implicates a federal question under 28 U.S.C. § 1331 does not override

state sovereign immunity. See Sierotowicz v. State of New York Div. of Hous.

& Cmty. Renewal, 2005 WL 1397950, at *1 (E.D.N.Y. June 14, 2005).




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          1. Claims against the Board of Regents and Board of Mental
             Health Practitioners

   Regardless of the type of relief Brokamp seeks, the Eleventh Amendment

bars this Court from assuming jurisdiction over her claims asserted against

the Board of Regents and Board of Mental Health Practitioners, which are

New York state agencies. New York has neither waived its sovereign

immunity for § 1983 claims, see Jones, 166 F.3d at 49, nor has Congress

overridden Eleventh Amendment immunity, see Will, 491 U.S. at 71. The

other statutes plaintiff references in her Amended Complaint likewise fail to

abrogate New York’s sovereign immunity.

   Accordingly, Brokamp’s claims against the Board of Regents and Board of

Mental Health Practitioners will be dismissed. See Roberts v. New York, 911

F. Supp. 2d 149, 159-60 (N.D.N.Y. 2012) (dismissing claims against state of

New York and various state agencies for lack of subject matter jurisdiction

based upon Eleventh Amendment); see also Brown, 975 F. Supp. 2d at 221

(same).

          2. Claims against the Attorney General, the Education
             Commissioner, and the Mental Health Board Defendants
             in their official capacities

   Brokamp also asserts claims against the Attorney General, the Education

Commissioner, and the Mental Health Board defendants in their official

capacities. Actions for damages against state officials in their official


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capacities are essentially actions against the state itself, and the Eleventh

Amendment will bar these actions unless: (1) Congress has abrogated

immunity; (2) the state has consented to suit; or (3) the Ex parte Young

doctrine applies. See Will, 491 U.S. at 71. As noted, New York has not

consented to suit and Congress has not abrogated Eleventh Amendment

immunity. However, defendants’ motions to dismiss present issues involving

the Ex parte Young doctrine.

   Ex parte Young established an exception to state sovereign immunity in

federal actions where an individual brings an action seeking injunctive relief

against a state official for an ongoing violation of law or the Constitution. See

209 U.S. 123, 160 (1908). The Ex parte Young doctrine provides “a limited

exception to the general principle of sovereign immunity [that] allows a suit

for injunctive relief challenging the constitutionality of a state official’s

actions in enforcing state law under the theory that such a suit is not one

against the State, and therefore not barred by the Eleventh Amendment.”

Ford v. Reynolds, 316 F.3d 351, 354-55 (2d Cir. 2003). Under the doctrine, a

plaintiff may bring a claim against a state official in his or her official

capacity, notwithstanding the Eleventh Amendment, when she: (1) alleges an




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ongoing violation of federal law; and (2) seeks relief properly characterized as

prospective. 6 In re Deposit Ins. Agency, 482 F.3d 612, 618 (2d Cir. 2007).

   First, the Court must consider whether Brokamp alleges an ongoing

violation of federal law. “The inquiry for determining whether an ‘ongoing

violation’ exists is, ‘does the enforcement of the law amount to a continuous

violation of [plaintiff’s] constitutional rights or a single act that continues to

have negative consequences for [plaintiff].’” Brown, 975 F. Supp. 2d at 223

(citing N.J. Educ. Ass’n v. N.J., 2012 WL 715284, at *4 (D.N.J. Mar. 5, 2012)).

If the former is true, plaintiff will satisfy the first prong of Ex parte Young,

see id; if the latter is true, the Eleventh Amendment will bar plaintiff’s claim,

see N.J. Educ. Ass’n, 2012 WL 715284, at *4.

   Brokamp alleges that the Attorney General, Education Commissioner, and

Board of Mental Health Practitioners (of which the Mental Health Board

defendants are members) are statutorily responsible for either enforcing or

administering New York’s licensing requirements, see Am. Compl. ¶¶ 9, 10,

12, 13, and that these requirements are unconstitutional, see generally

id. ¶¶ 78-112. These allegations are sufficient to satisfy the first prong of Ex




   6  While retrospective relief is “measured in terms of a monetary loss resulting from a past breach
of a legal duty on the part of the defendant state officials,” prospective relief “includes injunctive
relief that bars a state actor from engaging in certain unconstitutional acts or abates ongoing
constitutional violations as well as the payment of state funds ‘as a necessary consequence of
compliance in the future with a substantive federal-question determination.’” Brown, 975 F. Supp.
2d at 222-23 (citing Edelman v. Jordan, 415 U.S. 651, 668 (1974)).

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parte Young. See Brown, 975 F. Supp. 2d at 223 (“[a]n allegation that state

officials are enforcing a law in contravention of controlling federal law is

sufficient to allege an ongoing violation for the purposes of Ex parte Young”)

(citing Chester Bross Const. Co. v. Schneider, 886 F. Supp. 2d 896, 905 (C.D.

Ill. 2012)).

   Second, the Court must determine whether Brokamp seeks prospective

relief. As defendants acknowledge, Ex parte Young allows federal courts to

entertain suits against state officials in their official capacity where a

plaintiff seeks injunctive or declaratory relief. See 209 U.S. at 161. While

declaratory judgments form part of the injunctive relief that Ex parte Young

allows for, such relief will not satisfy the second prong of the Ex parte Young

analysis when it “would serve to declare only past actions in violation of

federal law.” Brown, 975 F. Supp. 2d at 225 (citing Tigrett v. Cooper, 855 F.

Supp. 2d 733, 744 (W.D. Tenn. 2012)).

   In this case, Brokamp seeks a permanent injunction prohibiting

defendants from applying New York’s licensing requirements and an order

declaring New York’s licensing law for mental health counselors

unconstitutional. These requests are prospective and satisfy Ex parte

Young’s second prong. See Verizon Md., Inc. v. Pub. Serv. Comm’n of Md.,

535 U.S. 635, 636 (2002) (“[plaintiff’s] prayer for injunctive relief—that state

officials be restrained from enforcing an order in contravention of controlling

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federal law—clearly satisfies our ‘straightforward inquiry’ [for an Ex parte

Young analysis]”); see also Brown, 975 F. Supp. 2d at 226 (holding that

plaintiffs’ request for an order declaring statute unconstitutional sought

prospective relief).

   Accordingly, jurisdiction remains over Brokamp’s facial First Amendment

claim against the Attorney General, the Education Commissioner, and the

Mental Health Board defendants in their official capacities. 7

   C. Failure to State a Claim

   As noted supra, Brokamp lacks standing to bring her as-applied First

Amendment and First and Fourteenth Amendment vagueness challenges.

This leaves the Court to consider whether plaintiff’s facial First Amendment

challenge states a claim upon which relief can be granted against the

remaining defendants.

   Brokamp alleges that “New York’s mental health counseling licensing law

is substantially overbroad, as it sweeps in significant amounts of speech that

New York has no conceivable interest in regulating.” Am. Compl. ¶ 94. In


   7  The Attorney General also asserts that she is not a proper defendant in this action because she
has no enforcement powers under the statutes at issue. However, as plaintiff correctly points out,
the statute at issue in this case mandates that the “attorney general shall prosecute such alleged
[violations of N.Y. Educ. Law §§ 6512-6513] in the name of the state.” N.Y. Educ. Law § 6514(2).
N.Y. Educ. Law § 6512(1) makes it a felony to practice mental health counseling without a license
issued by the Department of Education. Id. § 6512(1). Thus, the Attorney General has a connection
to the enforcement of the licensing laws at issue, not simply a general duty to execute them, and is a
proper defendant. See In re Dairy Mart Convenience Stores, Inc., 411 F.3d 367, 372-73 (2d Cir. 2005)
(“Under Ex parte Young, the state officer against whom a suit is brought ‘must have some connection
with the enforcement of the act’ that is in continued violation of federal law”).


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other words, plaintiff’s facial First Amendment challenge is an overbreadth

claim, which presents a steep hurdle: “[i]nvalidation for overbreadth is a

‘strong medicine’ that is not to be ‘casually employed.’” United States v.

Williams, 553 U.S. 285, 293 (2008). 8

   “In order to prevail on an overbreadth challenge, ‘the overbreadth of a

statute must not only be real, but substantial as well, judged in relation to

the statute’s plainly legitimate sweep.’” Farrell v. Burke, 449 F.3d 470, 499

(2d Cir. 2006) (citing Broadrick, 413 U.S. at 615). “An overbreadth

challenger ‘must demonstrate from the text of [the law] and from actual fact

that a substantial number of instances exist in which the [l]aw cannot be

applied constitutionally.’” Sibley v. Watches, 501 F. Supp. 3d 210, 223

(W.D.N.Y. 2020) (citing United States v. Thompson, 896 F.3d 155, 163 (2d

Cir. 2018)). This substantiality standard is “’vigorously enforced,’ and

because the overbreadth doctrine’s purpose is to prevent the chilling of

protected speech, ‘[r]arely, if ever, will an overbreadth challenge succeed

against a law or regulation that is not specifically addressed to speech or to

conduct necessarily associated with speech (such as picketing or




   8  In the same claim, plaintiff also alleges that New York’s licensing laws are “significantly
underinclusive.” See, e.g., Am. Compl. ¶ 99. While a law’s “underinclusivity” may raise a “red flag,”
the Court notes that “the First Amendment imposes no freestanding underinclusiveness limitation,”
and a state “need not address all aspects of a problem in one fell swoop; policymakers may focus on
their most pressing concerns.” Williams-Yulee v. Fla. Bar, 575 U.S. 433, 449 (2015).

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demonstrating).’” Id. (citing Virginia v. Hicks, 539 U.S. 113, 124 (2003))

(internal citations omitted).

   Brokamp’s allegations do not support an overbreadth challenge. First,

plaintiff fails to adequately allege New York’s licensing scheme will chill

protected speech. While certain of plaintiff’s allegations may suggest New

York’s licensing requirements could have a chilling effect on her own future

conduct, see, e.g., Am. Compl. ¶¶ 39, 68, 72-73, she does not allege that these

requirements will chill conduct more broadly.

   Thus, Brokamp has not shown New York’s licensing laws “will have a

substantial chilling effect on protected conduct.” Farrell, 449 F.3d at 497

(emphasis added); see also Members of City Council v. Taxpayers for Vincent,

466 U.S. 789, 800-01 (1984) (“the mere fact that one can conceive of some

impermissible applications of a statute is not sufficient to render it

susceptible to an overbreadth challenge…there must be a realistic danger

that the statute itself will significantly compromise recognized First

Amendment protections of parties not before the Court”); Sibley, 501 F. Supp.

3d at 224 (finding allegation that challenged statute would chill plaintiff’s

own future protected conduct was insufficient to state a facial overbreadth

challenge).

   Second, even assuming Brokamp’s allegations were sufficient to establish

a chilling effect, she also fails to show that any effect would be substantial as

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compared to New York’s plainly legitimate interest in protecting the public

through regulation of mental health counselor licensing. This would have

been enough to warrant dismissal on its own. See Bobbit v. Marzan, 2017

U.S. Dist. LEXIS 161478, *63 (S.D.N.Y. Sep. 28, 2017) (dismissing

overbreadth challenge because any alleged burden on First Amendment

rights was “outweighed by the law’s legitimate purpose”); United States v.

Hashmi, 2009 WL 4042841, *10 (S.D.N.Y. Nov. 18, 2009) (“Even if it were

shown that the law affects some activity that otherwise receives First

Amendment protection, [plaintiff] does not show that these potential

interferences are substantial in view of the law’s legitimate purpose”).

   Brokamp has failed to demonstrate that New York’s licensing scheme is

overbroad, let alone substantially so in relation to New York’s legitimate

interest in establishing standards for professional licensure. Plaintiff’s facial

First Amendment claim will be dismissed for failure to state a claim.

      CONCLUSION

   Therefore, it is

   ORDERED that

   1. Defendants’ motions to dismiss are GRANTED; and

   2. Plaintiff’s Amended Complaint is DISMISSED.

The Clerk is directed to enter judgment accordingly and close the file



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IT IS SO ORDERED.




Dated: November 22, 2021
       Utica, New York.




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